          USCA Case #23-5154       Document #2009679
                               UNITED STATES COURT OF Filed: 07/26/2023
                                                       APPEALS                                     Page 1 of 1

                                DISTRICT OF COLUMBIA CIRCUIT
                                             333 Constitution Avenue, NW
                                              Washington, DC 20001-2866
                                     Phone: 202-216-7000 | Facsimile: 202-219-8530



 Case Caption: In re: Merrick Garland, et al.

                                           v.                             Case No: 23-5154



                                            ENTRY OF APPEARANCE

The Clerk shall enter my appearance as          Retained      Pro Bono       Appointed (CJA/FPD)           Gov't counsel
for the     Appellant(s)/Petitioner(s)      Appellee(s)/Respondent(s)        Intervenor(s)      Amicus Curiae below:

                                                 Party Information
                 (List each represented party individually - Use an additional blank sheet as necessary)

 Lisa Page (respondent)




                                                Counsel Information
Lead Counsel: Amy Jeffress (D. Ames Jeffress)

                                                                     Email: amy.jeffress@arnoldporter.com
Direct Phone: ( 202 )     942-5968       Fax: ( 202 )   942-5999

2nd Counsel:     Robert J. Katerberg

                                                                     Email: robert.katerberg@arnoldporter.com
Direct Phone: ( 202 )     942-6289       Fax: ( 202 )   942-5999

3rd Counsel: Kaitlin Konkel

                                                                     Email: kaitlin.konkel@arnoldporter.com
Direct Phone: ( 202 )     942-5757       Fax: ( 202 )   942-5999

Firm Name:       Arnold & Porter Kaye Scholer LLP

Firm Address: 601 Massachusetts Avenue NW, Washington, DC 20001

                                                                     Email: N/A
Firm Phone: ( 202 ) 942-5000 Fax: ( 202 ) 942-5999

Notes: This form must be submitted by a member of the Bar of the U.S. Court of Appeals for the D.C. Circuit.
Names of non-member attorneys listed above will not be entered on the court's docket. Applications for
admission are available on the court's web site at http://www.cadc.uscourts.gov/.

USCA Form 44
March 2017 (REVISED)
